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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF IOWA

In re:                                                             Chapter 11

VEROBLUE FARMS USA, INC., ET AL.,                                  Case No. 18-01297

                                      Debtors.

            FISHDISH LLC’S OBJECTION TO DISCLOSURE STATEMENT AND
              CONFIRMATION OF DEBTORS’ REVISED CHAPTER 11 PLAN

         The FishDish LLC (“FishDish”), by and through their undersigned counsel, hereby files

this objection (“Objection”) to the Disclosure Statement for the Amended Joint Chapter 11 Plan

of Reorganization of Veroblue Farms USA, Inc. and its Affiliated Debtors (“DS” or “Disclosure

Statement”) (Docket No. 365), and opposition to the confirmation of the Amended Joint Chapter

11 Plan of Reorganization of VeroBlue Farms USA, Inc. and its Affiliated Debtors (“Plan”)

(Docket No. 364),1 filed in the chapter 11 cases of VeroBlue Farms USA, Inc. and its affiliated

debtors (collectively, “Debtors”). In support of its Objection, FishDish respectfully states:

                                        I. PRELIMINARY STATEMENT

         1.           FishDish is an entity holding 6 million preferred shares of VeroBlue Farms, USA,

Inc. As such, FishDish is an Interests holder in the Debtors, has a pecuniary interest in the outcome

of the Confirmation Hearing and is a party-in-interest as defined under the Bankruptcy Code.

FishDish has standing as an Interests holder to appear and be heard on any issue in a chapter 11

proceeding, generally. 11 U.S.C. §1109(b). FishDish also has specific standing, as a party-in-

interest, to object to the Plan. 11 U.S.C. § 1128.

         2.           The Debtors, Alder Aqua Ltd. (“Alder”) and Broadmoor Financial, L.P.

(“Broadmoor” and, collectively with the Debtors and Alder, the “Plan Proponents”) have been

1       Terms not otherwise defined herein shall have the meaning ascribed to them in the Plan. The hearing on Plan
confirmation is currently set for April 17, 2019 (“Confirmation Hearing”).
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very successful in preventing any inquiry or transparency into the process by the which the Plan

was formulated and proposed. This success plays no small part in the Plan’s undoing, as the Plan

Proponents cannot carry their burden of proof at the Confirmation Hearing with the meager

evidence they have provided to this Court and other parties-in-interest.

         3.           Simply put, while the Plan has all the trappings of a “reorganization” plan, it is

merely a vehicle for Alder’s principals and other “favored” parties to obtain releases,

unquestionably designed to prevent minority shareholders from bringing claims for damages

caused by the bad acts of various third parties.2 Upon closer examination of the Plan, however,

one realizes that relatively little money changes hands under it, assuming the Plan ever becomes

effective, the probability of which is miniscule given Alder’s required conditions to fund. (See DS

at Ex. C; infra at 19.) Nevertheless, even assuming that Alder does fund the Plan, most of those

funds never change hands or quickly go right back into Alder’s pocket.

         4.           FishDish objects to Plan confirmation as the Plan Proponents have failed to meet

their burdens under 11 U.S.C. § 1129. To wit:

        § 1129(a)(1): The Plan fails to comply with the Bankruptcy Code and other applicable law
         for several critical reasons: first, the proposed third-party releases violate 11 U.S.C. §
         524(e); and, second, the Plan does not provide the same treatment to all holders of Interests
         in the same class under 11 U.S.C. § 1123(a)(4);

        § 1129(a)(3): The Plan has not been proposed in good faith given the totality of
         circumstances in this case including the highly contingent nature of Alder’s investment in
         the Reorganized Debtor, the patently impermissible third-party releases being provide to
         “favored” parties under the Plan, the Debtors’ absolute failure to investigate certain
         Challenge Notice Claims (defined below) against the third parties being broadly released
         for their misconduct in conjunction with these Debtors, and the Debtors’ waste of

2         See e.g., Defendants Leslie Wulf, Bruce Hall, James Rea, and John (Ted) Rea’s Answer and Affirmative
Defenses to the Amended Complaint and Third-Party Claims, filed before the U.S. District Court for the Northern
District of Texas, Dallas Division dated April 10, 2019, in the case of VeroBlue Farms USA, Inc., Plaintiff, v. Leslie
A. Wulf, Bruce A. Hall, James Rea, John E. Rea and Keith Driver, Defendants and Third-Party Plaintiffs, vs. Eva
Ebstein, Jens Haarkoetter, Bjorn Thelander, Anders Webster, Norman McCowan, Dr. Otto Happel, and Aqua Alder
LTD, Third-Party Defendants (Case No. 3:19-cv-00764-L), attached as Exhibit A to this Objection.

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         significant estate assets – both before and during these Bankruptcy Cases – and other
         inequitable conduct, among other things;

        § 1129(a)(7): The Plan is not in the best interests of creditors;

        § 1129(a)(11): The Plan is not feasible because Alder’s contingency requirements for
         funding cannot be met. FishDish also anticipates submitting evidence that the Plan
         Proponents intend to liquidate the Debtors’ assets after Plan confirmation, without any such
         proposal being present in the Plan, as required by this section of the Bankruptcy Code; and

        § 1129(b): The Debtors cannot cramdown the Plan on FishDish for two reasons: first, the
         Plan does not treat FishDish’s Interests fairly and equitably under § 1129(b)(2)(C); and
         second, assuming that Alder’s Interests were properly classified in its own class of Interests
         (the “Alder Interests”), the Plan is not “fair and equitable” and “discriminates unfairly”
         against FishDish and other non-Alder preferred shareholders under Bank of Am. Nat’l Trust
         & Sav. Ass’n v. 203 N. LaSalle St. P’ship, 526 U.S. 434, 441 (1999), remanded to 182 F.3d
         922 (7th Cir. 1999) (hereinafter “203 N. LaSalle”).

         5.           On March 13, 2019, the Debtors filed the present Disclosure Statement (with the

Creditors’ Committee consent). (Docket No. 365.) The certificate of service states that the

Disclosure Statement was served on March 14, 2019. (See id.) A mere four days later, on March

18, 2019, this Court reviewed and approved the Disclosure Statement (over the objection of the

then-barred Ad Hoc Equity Committee). On March 20, 2019, this Court entered the order

approving the Disclosure Statement (“DS Approval Order”). (Docket No. 389.)

         6.           Federal Rule of Bankruptcy Procedure 2002 requires 28 days’ notice to parties in

interest “for filing objections and the hearing to consider approval of a disclosure statement.”

Clearly, that notice provision was not met, nor did the Debtors seek relief from the notice

provisions or request that the adequacy of the Disclosure Statement be considered at the

Confirmation Hearing. As the notice provisions of the Federal Rules of Bankruptcy Procedure

were not met, FishDish submits that this Court should consider its objections to the adequacy of

the information contained in the Disclosure Statement at the confirmation hearing.




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         7.           FishDish objects to the Disclosure Statement as not compliant with 11 U.S.C. §

1125, as the Disclosure Statement does not contain adequate information to allow creditors to

make an informed decision to accept or reject it. To wit:

        the alleged claims set forth in the Challenge Notice and the basis on which the Debtor
         determined that those claims lacked merit are not disclosed;

        the Disclosure Statement does not provide adequate information as to Plan Proponent
         and/or third-party entity conflicts of interest that the Third-Party Releasees (defined below)
         held during their respective tenures as directors or officers of the Debtors, and in what
         capacity and when they served directors or officers of the Debtors or related parties;

        the Disclosure Statement incorrectly asserts that the shares in the Reorganized Debtor are
         being provided to Alder in return for its New Equity Investment (defined below). (DS at
         13.) The Plan also asserts that the new equity is in exchange for a new investment. (Plan
         at 23.) Pursuant to the terms of the Plan, however, Alder receives the equity in the
         Reorganized Debtor on the Plan Effective, which does not require that the New Equity
         Investment be made. (Plan at 31.) In short, Alder stands to receive 100% of the
         Reorganized Debtor’s equity with no requirements to fund or make further investment after
         confirmation. Equally upsetting, the Third-Party Releasees get their releases without
         Alder committing one further dollar to the Plan;

        the Disclosure Statement fails to provide information on a patent reissue application
         response that was due on December 22, 2018; and

        the Disclosure Statement does not provide adequate information as to the Plan Proponents’
         true intentions to liquidate after confirmation.

                                              II. BACKGROUND

         8.           The Debtors were in the business of aquaculture, specifically fish farming, and

raised Barramundi (or Asian Sea Bass) for sale through wholesalers to restaurants and grocery

chains. On September 21, 2018 (“Petition Date”), the Debtors filed for bankruptcy relief under

chapter 11 of the Bankruptcy Code and are debtors-in-possession.

         9.           On October 24, 2018, the Office of the United States Trustee appointed the Official

Committee of Unsecured Creditors (“Committee”) pursuant to section 1102 of the Bankruptcy

Code to represent the interests of General Unsecured Creditors in these Bankruptcy Cases.

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    A. The Challenge Notice Claims

         10.          On September 26, 2018 – prior to the formation of the Committee – the Court

entered that certain Final Order (A) Authorizing Post-Petition Financing, (B) Granting § 364(c)

and 364(d) Liens and a Superpriority Administrative Claim, (C) Approving Post Petition Financing

Agreement with Alder Aqua, LTD, (D) setting a Final Hearing, and (E) Granting Related Relief

(Docket No. 73, the “DIP Order”), pursuant to which, inter alia, the Debtors were authorized to

obtain post-petition loans, advances and other credit accommodations from Alder. In addition, the

DIP Order purports to allow Broadmoor’s secured claims and grants Broadmoor several forms of

adequate protection on such claims.

         11.          Paragraph 8(a) of the DIP Order sets forth the procedure for asserting a challenge

to the claims and security interests of Broadmoor. While the DIP Order’s Challenge procedures

are limited only to the Broadmoor Lien and Broadmoor Secured Claim (as defined therein), out of

an abundance of caution, the Committee notified the Debtors of these Challenges and the other

potential claims and causes of action it discovered through correspondence timely served on the

Debtors’ counsel in accordance with paragraph 8(a) of the DIP Order and the Extension Order on

December 19, 2018 (the “Challenge Notice”), attached to this Objection as Exhibit B and

incorporated by reference in its entirety.

         12.          The Challenge Notice reflects the Committee’s initial investigation findings and

suggests that the Debtors’ estates hold tens of millions of dollars of claims and causes of action

against a variety of entities and individuals. It challenges the validity, priority, extent and

enforceability of Broadmoor’s secured claim, and provided evidence supporting either the

complete recharacterization of Broadmoor’s claim below current shareholders or the equitable

subordination of such claim to the Debtors’ unsecured creditors and non-insider equity holders. In

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addition, the Challenge Notice puts the Debtors on notice of a host of other claims and causes of

action identified by the Committee (collectively, the “Challenge Notice Claims”). The most

relevant Challenge Notice Claims released under the Plan include:

        Amstar’s Note Sale to Broadmoor and Alder’s Participation Agreement with Broadmoor.
         Amstar Group, LLC’s (“Amstar”) sale of its secured claims to Broadmoor in December
         2017 may not have been arm’s length or legitimate. Alder and Amstar have common
         ownership. Per the Disclosure Statement, in February of 2018, the Debtors ran out of
         working capital and defaulted on the Broadmoor Loan. Alder agreed to provide a bridge
         loan of just $5.025 million in connection with a forbearance agreement with Broadmoor
         and took a participation interest in the Broadmoor loan. (DS at 9.) Neither Alder nor
         Broadmoor have produced this participation agreement or any other evidence that supports
         an arm’s length transaction. No parties outside of Alder or Broadmoor know whether Alder
         has any level of control (or to what extent) over Broadmoor’s decision making or the terms
         on the underlying transaction, let alone whether money actually changed hands.
         Broadmoor also took the Amstar note subject to any claims of misconduct from the original
         noteholder Amstar, whose principals and related parties control Alder and the Debtors. For
         the reasons set forth in the Challenge Notice, claims to either recharacterize and/or
         equitably subordinate the Broadmoor secured claim exist.3 This Court has barred any
         discovery into these claims. (Docket No. 421.)

        Breaches of Fiduciary Duty, Fraud in the Inducement and Corporate Waste. The Debtors’
         estates hold claims and causes of action for breach of fiduciary duty and aiding and abetting
         breach of fiduciary duty against several current and former officers, directors and
         shareholders of the Debtors, as discussed in more detail on pages 9-14 of the Challenge
         Notice. The Court has barred any discovery into these claims. (Docket No. 421.)

         13.          The Debtors did not undertake any independent investigation of the estates’

Challenge Notice Claims at any time prior to or following the filing of these Bankruptcy Cases.

Rather than investigate and potentially prosecute these claims, the Debtors attempt to “bury” them

under the Plan, which, if confirmed, will grant broad releases to most of the targeted parties who



3         Any party-in-interest may raise an objection to the validity and extent of any other creditors’ claim. The Plan
Proponents may not unilaterally transact those rights away. AI Int’l Holdings (BVI) Ltd v. MUFG Union Bank, N.A.
(In re Weinstein Co. Holdings), 595, B.R. 455, 463 (Bankr. D. Del. 2018). Concurrent with this Objection, FishDish
has filed a separate objection to the Broadmoor Claim, which was never allowed under the plain language of the DIP
Order. The timely submission of the Challenge Notice prevented the automatic triggering of Broadmoor’s claim and
lien allowance. (DIP Ord. at ¶ 8.) A more detailed argument with citations to the DIP Order may be found at the Ad
Hoc Equity Committee’s Reply in Support of the Standing Motion. (Docket No. 380 at 5-6.) All arguments from said
reply are incorporated herein by reference.

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simultaneously held positions of authority for, or are otherwise related to, the Debtors, Alder and

third-party Amstar.4

    B. Alder Ownership and Corporate Governance

          12.         Alder holds a majority of preferred equity shares in the Debtors (“Alder Preferred

Shares”). (Docket No. 1 at 11-12.) The Alder Preferred Shares are of the same priority as those

held by FishDish, and both Alder and FishDish are classified as Class 7 Interest holders under the

Plan. (Id., Plan at 14.)

          13.         Alder also lent the Debtors $2 million in a debtor in possession credit facility. (DS

at 11.)

          14.         There are currently two members on the VBF USA’s Board of Directors (“Board”),

Ed Kerzner and Alan Sutherland. Both are Alder designees – who also sit as the sole directors of

other Debtor entities. (DS at 8.) It is unknown if the Debtors’ Board currently has a quorum or

authority to bind the Debtors to any course of action. This Court previously barred discovery into

this issue. (Docket No. 421.)

          15.         In short, Alder controls the Board and the operations of the Debtor. Alder holds an

undisclosed interest in Broadmoor’s senior debt. Nothing is known about the transaction whereby

Broadmoor acquired this debt, except for the fact that Broadmoor concluded the transaction in

days without undertaking any due diligence. It is unknown what persons or entities comprise

Broadmoor and whether Alder, in fact, has control or veto power over Broadmoor decision-making

by virtue of the undisclosed participation interest agreement. This Court previously barred

discovery into that issue. (Docket No. 421.)




4       FishDish is aware the Committee has withdrawn the Challenge Notice. The Committee cannot, however,
withdraw the claims and causes of action detailed in the Challenge Notice.
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                                                III. THE PLAN

         16.          On December 10, 2018, the Debtors filed their original plan of reorganization.

Later, on March 13, 2019, the Debtors filed the current Plan, which purports to “reorganize the

Debtors’ finances and equity structure an provide a platform that would be used, in part, to pay

Creditors.” (DS at 2.)

         17.          Under the Plan, priority and tax claims would receive distributions at 100% of their

value. Broadmoor retains its lien on all Collateral and be delivered a promissory note in the

principal amount of just over $11 million. Alder states that the Alder Participation Interest (defined

below) will be repaid “on terms to be agreed upon by” by Alder and Broadmoor, Alder but does

not disclose those terms. (Plan at 11.) This Court previously barred discovery into that question.

(Docket No. 421.)

         18.          Although Alder’s obligation to fund is highly contingent and may never occur, as

discussed infra, the Plan basically provides that Alder (i) repays itself $2 million advanced by

Alder under the DIP Facility, (ii) pays $350,000 (subject to adjustment) to General Unsecured

Creditors (both, presumably on the Effective Date, even though the Plan does not expressly

obligate Alder to provide such funding on the Effective Date or otherwise), and (iii) $6.18 million

to Broadmoor on the one-year anniversary of the Effective Date, with $5.025 million of such funds

reverting to Alder to satisfy some sort of “participation agreement” (“Alder Participation Interest”)

that has never been provided to FishDish or any other party-in-interest including, without

limitation, Debtors’ counsel and the Office of the United States Trustee.

         19.          $21.4 million of additional Alder cash is earmarked for post-confirmation capital

investments in the Debtors – but Alder is under absolutely no obligation to make such investments

under the Plan unless the conditions set forth in Exhibit C of the Disclosure Statement are met.

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Yet those conditions are impossible to satisfy.              As such, under even the most favorable

interpretation of the Plan and its economics, Alder is only obligated to spend $1.53 million in hard

cash to fund the Plan – hardly the $29.93 million promoted by the Debtors and Alder in the

Disclosure Statement. Nevertheless, Alder receives 100% of the Reorganized Debtor’s equity on

the Effective Date and the Third-Party Releases are released from those pending claims against

them plus any forthcoming claims from other aggrieved parties. (Plan at 22, 23.) The Plan goes

effective 14 days after entry of the confirmation order, with or without any funding. (Plan at

31.)

         20.          The Plan purports to pay General Unsecured Creditors a twenty-five percent (25%)

cash distribution and any recoveries from certain Causes of Action. All Interests (i.e., equity

shares) in the Debtors are extinguished under the Plan. (DS at 3-4.)

         21.          If the Broadmoor Claim is recharacterized or equitably subordinated to the level of

preferred shareholder – either on account of acts attributed to Amstar or in conjunction with the

Note transaction with Broadmoor – then any recovery on the Challenge Notice Claims exceeding

General Unsecured Claims (approximately $3 to 4 million) would directly benefit FishDish as a

preferred shareholder. As minority shareholders have asserted since the beginning of their

participation in these Bankruptcy Cases, the Challenge Notice Claims have merit and the potential

recovery on them is far beyond any threshold to FishDish’s participation as a preferred

shareholder.

    A. Plan Releases

         22.          The Plan provides for releases of certain identified third parties: Eva Ebstein, Jens

Haarkoetter, Ed Kerzner, Alan Sutherland, Bjorn Thelander, Anders Wester and Norman

McCowan. (Plan at 4, 6 (for the definitions of “Debtor Releasees” and “Plan Released Parties”).)

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The Plan also provides that the Plan Proponents and their members, officers, agents and

professionals, including Eva Ebstein, Jens Haarkoetter, Ed Kerzner, Alan Sutherland, Bjorn

Thelander, Anders Wester are “Exculpated Parties.” (Plan at 5.) Ebstein, Haarkoetter, Thelander

and Wester were former members of the Debtors’ board. (DS at 19.) Kerzner was an officer of

Amstar and Sutherland was an independent contractor that provided services for the Debtors on

behalf of Alder. (Ebstein, Haarkoetter, Thelander, Wester, Kerzner and Sutherland are collectively

referred to hereinafter as the “Third-Party Releasees.”) The Third-Party Releasees are identified

as “Debtor Releasees,” “Exculpated Parties” and “Plan Released Parties” under the Plan and, when

taken together, the Plan provides expansive releases for these individuals of any and all claims.

(Plan at 4, 5 and 7.)

         23.          No disclosure is made as to what roles the Third-Party Releasees may have played

as agents, officers or members of related parties such as Alder, Amstar and Broadmoor. This Court

previously barred discovery into this issue. (Docket No. 421.) On information and belief, the

Third-Party Releasees all simultaneously held positions of authority for Amstar or are otherwise

related to it – either by ownership, business relationship or blood. Amstar has not contributed any

value towards the Plan.

         24.          Neither have the Third-Party Releasees. The Plan states that the Debtors’ and

Holders of Claims and Interests’ respective releases of causes of action against the Third-Party

Releasees (generally, the “Releases”) are “for the good and valuable consideration provided by the

[Third-Party Releasees]”. But there is no evidence of any value being provided by the Third-Party

Releasees as consideration for the Releases. (Plan at 27-28.) Nor is there any indication of value

being provided by such Third-Party Releasees in consideration for the benefits of the exculpation

clause of the Plan. (Id. at 29.)

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     B. Reorganization and the Equity in the Reorganized Debtor

         25.          “The Plan contemplates the reorganization of the Debtors, with each emerging from

bankruptcy and continuing to operate its business as a Reorganized Debtor with a restructured

balance sheet.” (DS at 17.) The Plan Proponents fail to disclose a planned liquidation of the

Reorganized Debtors’ assets in the Disclosure Statement or Plan.

         26.          “In exchange for [Alder’s] investment of equity necessary to make the payments

required on the Effective Date of the Plan, [Alder] shall receive” all equity interests in the

Reorganized Debtor. (Plan at 23.) Alder receives 100% of the Reorganized Debtor on account of

the new equity investment, as described and allocated in the Plan (hereinafter, the “New Equity

Investment”). (Id.) Nowhere in the Disclosure Statement or Plan do the Plan Proponents disclose

that equity interests in the Reorganized Debtor are in exchange for anything than Alder’s New

Equity Investment.

         27.          The Reorganized Debtor equity was never offered on the open market in these

Bankruptcy Cases.5 The Plan Proponents also proposed this “new value” Plan during the time that

the Debtors held exclusivity pursuant to 11 U.S.C. § 1121.

                                                  IV. ARGUMENT

         28.          A plan may be confirmed only if the proponent establishes that it: (A) satisfies each

of the requirements set forth in 11 U.S.C. § 1129(a);6 and (B) does not “discriminate unfairly” and



5         Prior to the Petition Date, the Disclosure Statement asserts that the “Debtors explored options with third
parties” for an infusion of new capital, “but those discussions did not result in any proposals for further investment or
acquisition of the Debtors’ assets.” (DS at 9.) There is no further detail or discussion of these efforts. There are no
disclosures that the Plan Proponents inquired into any possible sources of new capital after the Petition Date or
otherwise solicited third parties (even including FishDish) to participate in the New Equity Investment.

6        This fact is true even if even if each class under the plan is unimpaired or has accepted. See, e.g., In re
Central Med. Ctr., Inc., 122 B.R. 568, 571 (Bankr. E.D. Mo. 1990). (“[I]n voting to accept a plan, the only provision
of section 1129(a) under which [a class of claimants] has waived its objection is subsection (a)(8) . . . .”) (emphasis
added).
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is “fair and equitable” with respect to each impaired class of claims or interests that has not voted

in favor of the Plan. 11 U.S.C. § 1129(b); see 203 N. LaSalle, 526 U.S. at 441.

         29.          The Plan Proponents bear the burden of proof that the section 1129

requirements are satisfied. See, e.g., Acequia, Inc. v. Clinton (In re Acequia, Inc.), 787 F.2d

1352, 1358 (9th Cir. 1986) (plan proponent bears burden with respect to requirements of section

1129(a)); Danny Thomas Props. II Ltd. P’ship v. Beal Bank, S.B.B. (In re Danny Thomas Props.

II Ltd. P’ship), 241 F.3d 959, 963 (8th Cir. 2001) (if plan proponent requests that plan be crammed

down, it bears burden with respect to requirements of section 1129(b)).

         30.          Here, the Plan Proponents have not (and cannot) meet their burden. The Plan

violates no less than four subsections of § 1129(a) and violates § 1126(b) – any one of which,

standing alone, render the Plan unconfirmable.

    A. The Plan Does Not Comply with Section 1129(a)(1) of the Bankruptcy Code

                 i.      The Plan violates Section 524(e) of the Bankruptcy Code by including
                         impermissible Third-Party Releases.

         31.          Section 1129(a)(1) of the Bankruptcy Code requires, as a condition to

confirmation, that the Plan complies with the applicable provisions of the Bankruptcy Code. 11

U.S.C. § 1129(a)(1). Some bankruptcy courts in the Eighth Circuit have indicated that third-party

releases are absolutely prohibited as a violation of 11 U.S.C. §524(e). See, e.g., In re Bennett

Paper Corp., 68 B.R. 518, 520 (E.D. Mo. 1986) (disapproving disclosure statement for failure to

inform creditors that non-debtor release provision is impermissible pursuant to 11 U.S.C. § 524(e)

where “discharge of a debt of the debtor does not affect the liability of any other entity on, or the

property of any other entity for, such debt”); and In re Craig, 325 B.R. 804, 805 (Bankr. N.D. IA

2005) (where, “[t]he discharge in bankruptcy, along with the coextensive permanent injunction

and fresh start, are exclusive to the debtor, and do not otherwise affect the enforcement of any
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underlying debt, or any non-debtor liability thereon.”)

         32.          Other courts have held that third-party releases are very rarely permissible – and

only under the most stringent conditions. “The Bankruptcy Codes does not explicitly prohibit or

authorize a bankruptcy court to enjoin a non-consenting creditor’s claims against a non-debtor to

facilitate a reorganization plan.” In re Continental Airlines, 203 F.3d 203, 211 (3d. Cir.

2000). However, bankruptcy courts, ‘as courts of equity, have broad authority to modify creditor-

debtor relationships.’ United States v. Energy Resources Co., 495 U.S. 545, 549 (1990).” In re

Archdiocese of Saint Paul & Minneapolis, 578 B.R. 823, 832-33 (Bankr. D. Minn. 2017). “To

confirm such a plan, the debtor must show (1) large or numerous liabilities against the debtor and

the co-liable parties to be released, (2) a substantial contribution from the non-debtor co-

liable parties, (3) the importance of the third-party releases to the reorganization process, and (4)

significant acceptance of the plan by the group of creditors who are being asked to give up their

claims against third parties.”7 Archdiocese of Saint Paul, 578 B.R. at 832.

         33.          The causes of action against these Third-Party Releasees are extensively detailed

in the Challenge Notice. These claims include breach of fiduciary and waste claims of significant

value – indeed, the only value that remains for non-controlling shareholders such as FishDish.

         34.          Alder asserts that the Releases are part of the consideration for the New Equity

Investment. However, many of the Third-Party Releasees are also agents or officers of Amstar,



7         The Archdiocese court held that the term “substantial” “certainly means more than the half required by §
1126 for a class to accept a plan.” Id. Here, Class 7 equity holders are receiving nothing under the Plan and are
deemed to have rejected the Plan. (DS at 5.) See also In re Master Mortgage Inv. Fund, 168 B.R. 930, 936 (W.D.
Mo. 1994) where factors to be considered in evaluating whether releases or injunctions are valid include: (1) There is
an identity of interest between the debtor and the third party, usually an indemnity relationship, such that a suit against
the non-debtor is, in essence, a suit against the debtor or will deplete assets of the estate; (2) the non-debtor has
contributed substantial assets to the reorganization; (3) the injunction is essential to reorganization; (4) a substantial
majority of the creditors agree to such injunction; and (5) the plan provides a mechanism for the payment of
substantially all claims of the class affected by the injunction. Id. at 934-35; and In re Fansteel Foundry Corp., No.
16-01825-als11, 2018 Bankr. LEXIS 3309, at *26-30 (Bankr. S.D. Iowa Oct. 26, 2018) (for same).
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who has not provided any consideration towards the Plan, much less the “substantial contribution”

required in Archdiocese of Saint Paul. There is nothing in the Disclosure Statement or Plan that

identifies any necessity of the Releases to the Debtors, much less any critical importance. Minority

shareholders (i.e. FishDish) are deemed to reject the Plan – and those shareholders are the

constituents now required to waive claims against the Third-Party Releasees.

         35.          Further still, the Third-Party Releases expansively include the:

         current and former officers, directors, members, employees, partners, managers,
         advisors, attorneys, financial advisors, investment bankers, accountants, insurance
         providers, and other professionals and representatives, and each of their direct and
         indirect shareholders’ and owners’ respective officers, directors, members,
         employees, partners, managers, advisors, attorneys, financial advisors, investment
         bankers, accountants, and other professionals and representatives

(Plan at 4) of the Plan Proponents. This pool is a broad swath of persons utterly unknown in

number or identity. These people (or entities) have not contributed any value to the Plan and the

Plan Proponents cannot show that releases for these unknown individuals are essential to the

Debtors’ reorganization.

         36.          It is clear that the Third-Party Releases in this Plan are not acceptable in the Eighth

Circuit. On this ground alone, confirmation must be denied.

                ii.      The Plan violates Section 1123 of the Bankruptcy Code

         37.          The Plan purports to extinguish all interests of Class 7 holders. (Plan at 14.) But

Alder is granted an exclusive opportunity to make the New Equity Investment under the Plan and

further receives 100% of the equity in the Reorganized Debtor, plus Releases for itself and certain

“favored” third parties.

         38.          Section 1123 of the Bankruptcy Code provides that “[n]otwithstanding any

otherwise applicable nonbankruptcy law, a plan shall . . . provide the same treatment for each

claim or interest of a particular class, unless the holder agrees [to less favorable treatment]” 11
                                                        14

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U.S.C. § 1123(a)(4). (emphasis added.)

         39.          The U.S. Supreme Court previously instructed in 203 N. LaSalle that an exclusive

right to receive equity in a reorganized debtor is “value” on account of a prior claim or interest in

the debtor. So, some Class 7 interest holders (Alder) do, in fact, receive value under the Plan on

account of the Alder Interests, while other Class 7 Interests holders (FishDish and other non-Alder

preferred shareholders) receive absolutely nothing. Accordingly, if this Court deems the Plan

violates Section 1123 of the Bankruptcy Code, by definition, it would violate Section 1129(a)(1)

of the Bankruptcy Code and cannot be confirmed as a matter of law.

    B. The Plan Violates Section 1129(a)(3) of the Bankruptcy Code

         40.          Section 1129(a)(3) of the Bankruptcy Code requires the proponents of a plan to

establish, as a condition to confirmation, that the plan has been proposed in good faith and not by

any means forbidden by law. 11 U.S.C. § 1129(a)(3). The term “good faith” is not defined in the

Bankruptcy Code but is generally interpreted as meaning that there is “a reasonable likelihood that

the plan will achieve a result consistent with the objectives and purposes of the Bankruptcy Code.”

In re Madison Hotel Assocs., 749 F.2d 410, 424-25 (7th Cir. 1984). Section 1129(a)(3) “speaks

more to the process of plan development than to the content of the plan.” In re Bush Indus., Inc.,

315 B.R. 292, 304 (Bankr. W.D.N.Y.2004) (emphasis added). To determine whether a plan has

been proposed in good faith a court must consider “the totality of the circumstances” surrounding

the plan’s development and proposal. Madison Hotel, 749 F.2d at 425; see also In re Apex Oil

Co., 118 B.R. 683, 703 (Bankr. E.D. Mo. 1990) (for same). “The court must focus on factors such

as whether the debtor has stated debts and expenses accurately; whether the debtor has made any




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fraudulent misrepresentation to mislead the bankruptcy court; or whether the debtor has unfairly

manipulated the Bankruptcy Code.” In re Barger, 233 B.R. 80, 83 (B.A.P. 8th Cir. 1999).

         41.          The primary objective of the Bankruptcy Code is to maximize the value of a

debtor’s estate and distribute that value to holders of claims and interests on account of those

claims and interests. See 203 N. LaSalle, 526 U.S. at 453 (1999) (citing Toibb v. Radloff, 501 U.S.

157, 163 (1991) (observing recognized policy of the Bankruptcy Code to be “maximizing property

available to satisfy creditors”); Four B. Corp. v. Food Barn Stores, Inc. (In re Food Barn Stores,

Inc.), 107 F.3d 558, 564-65 (8th Cir. 1997) (“[A] primary objective of the [Bankruptcy] Code [is]

to enhance the value of the estate at hand.”). The Plan fails this primary objective, to satisfy the

“good faith” requirement of Section 1129(a)(3), for the reasons articulated below.

         42.          First, the impermissible Third-Party Releases being provided to “favored”

individuals and wide swaths of unknown persons connected to the Plan Proponents constitutes

“bad faith” under federal bankruptcy law. Moreover, none of the Plan Proponents have identified

any value being provided by the Third-Party Releasees for the Releases under the Plan, except

maybe Alder, assuming Alder actually funds the New Equity Investment.

         43.          Second, the highly contingent nature of Alder’s New Equity Investment constitutes

“bad faith” under federal bankruptcy law. FishDish anticipates submitting evidence at the

Confirmation Hearing that certain contingencies to Alder’s funding set forth in Exhibit C of the

Disclosure Statement simply can never be met. Moreover, as set discussed supra, Alder’s

obligations to fund the New Equity Investment - at least the vast majority of it - are illusory.

         44.          Third, the Debtors failure to conduct any inquiry into the Challenge Notice Claims

constitutes “bad faith” under federal bankruptcy law. The Debtors’ willful ignorance – not even

attempting to obtain and review the Amstar / Broadmoor Note sale agreement or the Alder

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Participation Agreement, is smoke indicating a fire of claims that would inure to the benefit of the

estate and its creditors and interest holders. Further still, FishDish anticipates submitting evidence

at the Confirmation Hearing of certain waste claims related to the culling and disposal of fish

inventory – ostensibly for the purpose of deflating the asset value and Liquidation Analysis, as no

other rationale exists for this behavior, which incidentally violated applicable law and might even

constitute a criminal act.8

         45.          Fourth, the Debtors actions to suppress potential competing bids for the estate

during these Bankruptcy Cases constitutes “bad faith” under federal bankruptcy law. This reality

is further discussed infra, in connection with the Plan’s violation of the absolute priority rule. That

said, FishDish anticipates providing further evidence of even more egregious bid suppression by

the Debtors at the Confirmation Hearing. Maximizing value to the estate is antithetical to efforts

to discourage potential third-party purchasers, and such behavior by the Plan Proponents

constitutes “bad faith” as a matter of law.

         46.          Fifth, equality of distribution among similarly situated creditors is central to the

purposes and objectives of the Bankruptcy Code. See, e.g., Begier v. IRS, 496 U.S. 53, 58 (1990)

(“Equality of distribution among creditors is a central policy of the Bankruptcy Code. According

to that policy, creditors of equal priority should receive pro rata shares of the debtor’s property.”)

(emphasis added); see also Avon Park, 311 U.S. at 147-48. The U.S. Supreme Court has

recognized the importance of this policy for at least the last 100 years. See Clarke v. Rogers, 228



8        Upon information and belief, the Debtors used clove oil to kill its entire fish inventory during these
Bankruptcy Cases, on December 6, 2019. Such practice is illegal under applicable federal law for its risk to any
human administering the clove oil. See e.g., US FDA, Guidance for Industry # 150 – Concerns Related to the use
of Clove Oil as Anesthetic for Fish (April 24, 2007), https://www.fws.gov/fisheries/aadap/PDF/GFI-150-Clove-Oil-
2.pdf (“FDA Guidance”) (“This guidance is intended to remind producers that neither clove oil nor any of its
components are the subject of an approved new animal drug application and, because of safety concerns, should not
be used as an anesthetic in fish.”) A copy of the FDA Guidance is attached hereto as Exhibit C.

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U.S. 534, 548 (1913) (“Equality between creditors is necessarily the ultimate aim of the

Bankrupt[cy] Law.”) (emphasis added).

         47.          As also further discussed infra, the failure of the Debtors (under Alder’s control) to

engage in a marketing process resulted in Alder failing to pay “top dollar” for the equity shares in

the Reorganized Debtor. This failure resulted in Class 7 interest-holder Alder receiving more from

the estate on account of its interests, than FishDish and other non-Alder Interests, under the Plan.

While the Plan asserts that the shares in the Reorganized Debtor were consideration for Alder’s

equity infusion, the Plan Proponents’ failure to market test the Reorganized Debtor’s shares

through an open sale is fatal to this argument. Again, the burden of proof rests with the Plan

Proponents.9

     C. The Plan Violates Section 1129(a)(7) of the Bankruptcy Code

         48.          To be confirmed, pursuant to 11 U.S.C. § 1129(a)(7), a plan must meet the “best

interests of creditors test.” (To be clear, section 1129(a)(7) also applies to interest holders. Id.)

This test requires that non-accepting impaired classes must "receive or retain under the plan …

property of a value, as of the effective date of the plan, that is not less than the amount that such

holder would so receive or retain if the debtor were liquidated under chapter 7 . …" Application

of this test entails a hypothetical chapter 7 liquidation analysis as of the effective date of the plan.




9        Finally, it is unknown as of this filing whether Class 5 General Unsecured Creditors (excluding Broadmoor)
will vote against the Plan. If the general unsecured creditor body (excluding Broadmoor) votes against the Plan, the
Debtors classification of the $40 million-plus Broadmoor deficiency claim as a Class 5 Claim also constitutes bad
faith and impermissible gerrymandering of the voting classifications under Section 1122 of the Bankruptcy Code.
FishDish reserves the right to supplement this Objection after the balloting is completed.
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The burden of proof is on the plan proponent to establish that its plan meets this test. In re

Affiliated Foods, Inc., 249 B.R. 770, 787 (Bankr. W.D. Mo. 2000).

         49.          The Liquidation Analysis ignores any analysis of the Challenge Notice Claims and

the result of the recharacterization and equitable subordination of the Broadmoor Secured Claim

and/or equitable subordination of Alder’s interests. The bald statement: “the Debtors believe that

the demands lack merit in their entirety” is all they offer. (DS at 12.) It would be well within the

Debtors’ rights to determine the Challenge Notice Claims have no value – but there is no basis or

discussion for how the Debtors came to this determination. Given that: (a) Alder controls the

Board and the Debtors; (b) Alder has common ownership with Amstar; and (c) Alder has an

unknown interest in or level of control over Broadmoor, it is clear why the Debtors have engaged

in zero investigation into the Challenge Notice Claims. The Debtors may “believe” that the

demands lack merit – but when the Debtors have not even reviewed any of the underlying

transaction documents central to those claims, the Debtors’ conclusions ring hollow.

         50.          Recall that, in connection with Plan confirmation, the Debtors carry the burden of

proof. In re Affiliated Foods, Inc., 249 B.R. at 787. Because the Debtors have not performed nor

disclosed that they have conducted any due diligence or investigation into the Challenge Notice

Claims, they cannot meet the burden of demonstrating that the Challenge Notice Claims do not

have value and that shareholders would not be better off in a complete liquidation.

         51.          Furthermore, the Liquidation Analysis (DS at Ex. D) has also been improperly

deflated because of the Debtors’ wasteful and improper culling of fish inventory, both pre- and




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post-Petition Date. FishDish anticipates providing evidence of this waste of the Debtors’ assets

that negatively impacted the assets of the estate and the Liquidation Analysis.

    D. The Plan Violates Section 1129(a)(11) of the Bankruptcy Code

         52.          Section 1129(a)(11) of the Bankruptcy Code states that a plan proponent must

establish that “[c]onfirmation of the plan is not likely to be followed by the liquidation, or the need

for further financial reorganization, of the debtor or any successor to the debtor under the plan.”

“This statutory provision establishes what is commonly known as the ‘feasibility’ requirement,

and as a practical matter it requires the court to find that the plan is ‘workable’ before it may be

confirmed.” In re Danny Thomas Properties II Ltd. Partnership, 241 F.3d 959, 962 (8th Cir.

2001); In re Monnier Brothers, 755 F.2d 1336, 1341 (8th Cir. 1985). In determining whether a

plan is feasible, the bankruptcy court has an obligation to scrutinize the plan carefully to determine

whether it offers a reasonable prospect of success and is workable. United States v. Energy

Resources Co., 495 U.S. 545, 549 (1990).

         53.          The test for feasibility is whether the things which are to be accomplished after

confirmation can actually happen as a practical matter. In re Clarkson, 767 F.2d 417, 420 (8th

Cir. 1985) Pertinent factors to be considered include the business’ earning power, the sufficiency

of the capital structure, economic conditions, managerial efficiency, and whether the same

management will continue to operate the company. Id. Bankruptcy courts in this district have

previously expressly stated that the purpose of the feasibility test is “to protect against visionary

or speculative plans.” Gilbertson Restaurants LLC, 2005 Bankr. LEXIS 554 at *15. Here, as

described below, the Plan is the exact type of speculative plan that fails to meet the feasibility

standard.

         54.          As noted above, the Debtors allegedly rely upon a $29 million equity infusion from

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Alder (an illusory infusion, as discussed supra), which ostensibly provides capital for the partial

repayment of the restructured Broadmoor loan, the payment of the distribution to Class 5 creditors,

and for working capital and capital expenditure needs. But Alder’s obligation to make this

infusion, however, is tied to at least two impossible contingencies, as set forth below.

Nevertheless, despite the highly contingent nature of this infusion, Alder is certain to receive 100%

of the equity interests in the Reorganized Debtor on the Effective Date. (Plan at 18.)10

         55.          In relevant part, Exhibit C to the Disclosure Statement sets forth two conditions to

Alder’s New Equity Investment:

                     “The Receipt of the Jordan aquifer well permit and the ability to actually reach the
                      aforementioned aquifer” (hereinafter, the “Aquifer Permit”); and

                     “The Debtors shall have secured means of wastewater disposal consistent with
                      applicable law and local ordinances (and acceptable to Alder), including receipt of
                      permits from National Pollutant Discharge Elimination System for waste water
                      from Urban Farm, Blairsburg, and Buckeye facilities” (hereinafter, the
                      “Wastewater Permit”).

(DS at Ex. C ¶¶ 9, 10.)

         56.          The Disclosure Statement and Plan are devoid of any information relating to the

status of their efforts to obtain the Aquifer Permit nor the Wastewater Permit. The Debtors have

not disclosed their due diligence efforts, if any, to obtain these permits. This Court previously

barred discovery into this issue. (Docket No. 421.)

         57.          In fact, the Debtors cannot obtain the Aquifer Permit. Evidence to be presented at

the Confirmation Hearing will establish that the Jordan aquifer is already at or beyond capacity.



10        The Effective Date is not contingent upon Alder’s funding, but only upon the entry of the confirmation order.
(Plan at 5, 30.) The Third-Party Releasees will also receive their Releases on the Effective Date, again, whether or
not Alder actually funds the New Equity Investment. (Plan at 27.) The Plan’s definition of “Effective Date”
incorrectly cites to conditions of effectiveness at § 10.01 of the Plan, rather than, presumably, § 11.01 of the Plan.
(Plan at 5, 30.)

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The Debtors’ meetings with the Webster City municipal government (“Webster City”) made clear

that the Debtors’ request to draw an additional 250,000 to 400,000 gallons of water from the

aquifer per day will not be granted as there is simply not enough water for both the farm and

Webster City’s citizens. FishDish anticipates providing this and additional evidence of the

impossibility of obtaining the Aquifer Permit. FishDish expects the evidence to show that, as the

condition cannot be met, the obligation to make the New Equity Investment in the Reorganized

Debtor is illusory – to be renegotiated or ignored at any time – rather than a contractual obligation.

         58.          Further, at least with respect to the Wastewater Permit at Urban Farm, which is

within the jurisdiction of Webster City, FishDish anticipates submitting evidence that the Debtors

have not requested or inquired into a Wastewater Permit with the Department of Natural Resources

or Webster City. If they have not even inquired, how can the Debtors represent to this Court that

the Wastewater Permit is obtainable?

         59.          Additionally, section 1129(a)(11) provides that the Plan may only be confirmed if

the Plan “is not likely to be followed by the liquidation, or the need for further financial

reorganization, of the debtor or any successor to the debtor under the plan, unless such liquidation

or reorganization is proposed in the plan.” 11 U.S.C. § 1129(a)(11). Here, FishDish anticipates

submitting evidence and admissions by a principal of the Debtors that the Plan Proponents have

plans to liquidate the Debtors’ assets after Plan confirmation. This course of action is not listed

anywhere in the Plan or Disclosure Statement. Without such disclosure, the Plan violates the

feasibility requirement of the chapter 11 plan confirmation process.

         60.           The Plan Proponents have the burden of proof to demonstrate the Plan is feasible.

Under these circumstances, they cannot possibly meet that burden under section 1129(a)(11). The

Plan cannot be confirmed.

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    E. The Plan Violates Section 1129(b) of the Bankruptcy Code
          
         61.          Section 1129(b) of the Bankruptcy Code provides that a plan can only be confirmed

if it “does not discriminate unfairly, and is fair and equitable, with respect to each class of claims

or interests that is impaired under, and has not accepted, the plan.” 11 U.S.C. § 1129(b).

         62.          As described above, the Plan treats Alder’s and FishDish’s preferred shares within

a single classification – Class 7 Interests. Class 7 Interests are extinguished under the Plan, with

such class deemed to have rejected the Plan. (Plan at 14.)

         63.          Alder, however, receives 100% of the equity in the Reorganized Debtor on the

Effective Date. (Plan at 22.) The ability to make this contribution alone is an exclusive right of

Alder, the Debtors’ controlling shareholder. The Plan provides no opportunities or options for any

other party-in-interest to either contribute to the New Equity Investment or provide better terms

than Alder to receive shares in the Reorganized Debtor. In essence, some interest-holders have

been provided with an exclusive opportunity to bid for this equity (i.e. Alder), while others have

not (i.e. FishDish).

         64.          The U.S. Supreme Court held in 203 N. LaSalle that exclusive opportunities to

“purchase” equity in a reorganized debtor have independent value and – if those opportunities

aren’t exposed to the market – constitute an impermissible end-around to the absolute priority rule

under Section 1129(b)(2)(B)(ii) of the Bankruptcy Code. See 506 U.S. at 441.

         65.          In 203 N. LaSalle, the partnership debtor proposed a plan under which certain

current partners would contribute new capital in exchange for ownership in the reorganized entity.

Id. Rejecting the lower court’ confirmation order under section 1129(b) of the Bankruptcy Code,

the U.S. Supreme Court held that an insider’s exclusive opportunity to participate and obtain the

reorganized debtor’s equity was, by itself, a valuable property right. Id. at 455. “Given that the


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opportunity is property of some value, the question arises why old equity alone should obtain it,

not to mention at no cost whatever.” Id. The Court went on to hold that the exclusiveness of the

opportunity “with its protection against the market’s scrutiny of the purchase price by means of

competing bids renders the [opportunity] a property interest extended ‘on account of’ the old

equity position.” Id. Therefore, the Court concluded 203 N. LaSalle plan violated the absolute

priority rule.

         66.          The facts are slightly different in this case – but the same law and logic applies.

Here, the objector (FishDish) does not hold a claim or interest senior to Alder, but rather both

Alder and FishDish have been classified together as Class 7 Interests. However, 203 N. LaSalle

instructs that an exclusive right to participate in funding and receive shares in the Reorganized

Debtor constitutes value regardless.11 While this reality dooms the Plan under section 1123(a)(4),

it begs the question whether the Debtors could separately classify Alder and FishDish and

effectively “end around” section 1123(a)(4).

         67.          But even a modified Plan that separately classes Alder and FishDish could not be

confirmed because it would then violate Section 1129(b)(2)(C), which provides that, for subsection

(b), “the condition that a plan be fair and equitable with respect to a class” requires, in the case of

interest holders:

         each holder of an interest of such class [must] receive or retain on account of such
         interest property of a value, as of the effective date of the plan, equal to the greatest
         of the allowed amount of any fixed liquidation preference to which such holder is

11        After holding that the exclusive opportunity to purchase old equity constitutes “value” received on account
of a prior interest in the debtor, the U.S. Supreme Court essentially mandated that opportunities to purchase equity in
a reorganized debtor over the objection of a senior creditor be open to competing bids in order to ensure that the price
was “top dollar” and truly acquired in exchange for new value. Id. Put bluntly: “plans providing junior interest holders
with exclusive opportunities free from competition and without benefit of market valuation fall within the prohibition
of § 1129(b)(2)(B)(ii).” Id. at 458. See also In re Castleton Plaza, LP, 707 F.3d 821, 822 (7th Cir. 2013) (“The [203
N. LaSalle] Court devised the competition requirement to curtail evasion of the absolute-priority rule… Competition
helps prevent the funneling of value from lenders to insiders, no matter who proposes the plan or when. An impaired
lender who objects to any plan that leaves insiders holding equity is entitled to the benefit of competition.”).

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         entitled, any fixed redemption price to which such holder is entitled, or the value of
         such interest

11 U.S.C. § 1129(b)(2)(C). Thus, FishDish must share, pro rata, in any value that Alder receives
under the Plan if separately classified. As such, any modified Plan where Alder retains 100% of
the equity in the Reorganized Debtor without subjecting that interest to competitive bidding, would
not be “fair and equitable” to FishDish and would “discriminate unfairly” against it. Any such
Plan would be unconfirmable under Section 1129(b) of the Bankruptcy Code.12 For these reasons,
FishDish submits that Alder’s failure to open bidding for the equity in the Reorganized Debtors
dooms the Plan as a matter of law.

    F. The Disclosure Statement Does Not Contain “Adequate Information” As Required
       By 11 U.S.C. § 1125.

         68.          As set forth above, section 1125 of the Bankruptcy Code requires a disclosure

statement contain “adequate information” regarding a proposed plan to allow creditors to make

informed decisions. “Adequate information” is “information of a kind, and in sufficient detail, as

far as is reasonably practicable in light of the nature and history of the debtor and the condition of

the debtors’ books and records . . . that would enable . . . a hypothetical investor of the relevant

class to make an informed judgment about the plan.” 11 U.S.C. § 1125(a)(1).

         Adequate information is not a static or rigid term. Instead, the concept is intended
         to be tailored to suit individual cases. Precisely what constitutes adequate
         information in any particular instance will develop on a case by case basis. Courts
         will take a practical approach as to what is necessary under the circumstances of
         each case, such as the costs of preparation of the statements, the need for relative
         speed in solicitation and confirmation, and, of course, the need for investor
         protection . . . . In reorganization cases, there is frequently great uncertainty.
         Therefore the need for flexibility is greatest.

In re Fansteel Foundry Corp., No. 16-01825-als11, 2018 Bankr. LEXIS 3309, at *8 (Bankr. S.D.


12        As discussed supra, Alder simply could decide not fund the New Equity Investment (the conditions cannot
be satisfied) on the Effective Date but still receive 100% of the equity in the Reorganized Debtor and those Releases
for its “favored” Third-Party Releasees. A firm commitment of $1 has greater value than Alder’s conditional
commitment, where the conditions are an impossibility.

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Iowa Oct. 26, 2018).

         69.          Here, the Disclosure Statement omits highly relevant facts that are needed to make

an informed decision regarding whether to accept or reject the Plan. Among others, the following

provisions of the Disclosure Statement lack adequate information or provide incorrect information:

               a. The Disclosure Statement incorrectly asserts that the shares in the Reorganized
                  Debtor are being provided to Alder in return for its New Equity Investment. (DS
                  at 13, where “[i]n exchange for its investments, Alder will own 100% of the equity
                  interests in VBF USA.” (emphasis added))13 Pursuant to the terms of the Plan,
                  however, the new equity is issued to Alder on the Effective Date of the Plan – and
                  the New Equity Investment is contingent upon the conditions set forth in Exhibit C
                  to the Disclosure Statement. Yet, the triggering of the Effective Date does not
                  require that Alder fund the New Equity Investment. (Plan at 5, 31 where the Plan
                  becomes effective so long as final orders on substantive consolidation and
                  confirmation have been entered.) In short, Alder could refuse to fund the New
                  Equity Investment and still receive 100% of the equity in the Reorganized Debtor
                  (and the Releases for the Third Party Releasees) without having to pay another
                  penny after confirmation. Alder could refuse to fund because the conditions of
                  funding cannot be met, as discussed in greater detail, supra, in relation to the Plan’s
                  feasibility issues.

               b. The Disclosure Statement’s Liquidation Analysis states that, with respect to a
                  technology patent: “[t]here was a reissue patent application filed on October 20,
                  2016 and many claims in that reissue application were rejected. The Debtor has
                  until December 22, 2018 to respond.” (DS at 54.) The Amended Disclosure
                  Statement was filed on March 13, 2019 – with no update to whether the response
                  was filed or where Debtors are in this process.

               c. The Disclosure Statement does not provide any information regarding the
                  investigation, or lack thereof, that the Debtors undertook in response to the
                  Challenge Notice Claims.

               d. The Disclosure Statement does not provide any information relating to the
                  Challenge Notice Claims. No doubt that the Plan Proponents believed that, with
                  the new-found support of the Creditors’ Committee and the barring of the Ad Hoc
                  Equity Committee from these cases, that they were free to omit any detail of those
                  claims. Nonetheless, those claims still existed for creditors and equity shareholders
                  regardless of the standing and status of the two committees. The Challenge Notice
                  Claims should have been disclosed and the Debtors should have provided the bases
                  to which they determined those claims had no value.

13       The Plan, in places, also asserts that the Reorganized Debtor’s equity is in exchange for the New Equity
Investment. (Plan at 23, where “[i]n exchange for [Alder’s] investment of equity necessary to make the payments
required on the Effective Date of the Plan, the [Alder] shall receive the Plan Sponsor New Equity Interest.”)
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              e. The Disclosure Statement is devoid of any information relating to the status of the
                 Debtors’ efforts and ability to obtain the Aquifer Permit and the Wastewater Permit.
                 The Debtors have not disclosed their due diligence efforts, if any, to obtain these
                 permits.

              f. The Disclosure Statement does not provide any information relating to any entities
                 that the Third Party Releasees were officers, agents or members of (with the
                 exception of the disclosures relating to Kerzner and Sutherland). This Court barred
                 any discovery on this issue. (Docket No. 421.)




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                                            CONCLUSION

         WHEREFORE, for the reasons set forth herein, FishDish LLC respectfully requests that

this Court deny confirmation of the Plan.



Dated: April 12, 2019                         Respectfully submitted,


                                              FISHDISH, LLC

                                              By:       /s/ Aaron L. Hammer
                                                        One of Its Attorneys

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                                   CERTIFICATE OF SERVICE

         The undersigned counsel of record hereby certifies that he caused a copy of the foregoing

FISHDISH              LLC’S   OBJECTION       TO     DISCLOSURE          STATEMENT          AND

CONFIRMATION OF DEBTORS’ REVISED CHAPTER 11 PLAN to be filed with the U.S.

Bankruptcy Court for the Northern District of Iowa on the 12th day of April, 2019. Notice and a

copy of this filing will be served upon all counsel of record by operation of the Court’s CM/ECF

electronic filing system.

                                             By: /s/ Aaron L. Hammer




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